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                                                      U.S. Department of Justice

                                                      United States Attorney
                                                      District of Connecticut



                                                      Connecticut Financial Center       (203)821-3700
                                                      157 Church Street, 2511' Floor     Fax (203) 773-5376
                                                      New Haven, Connecticut 06510       www.justice.gov/usao/ct


                                                      March j_, 2025

Cheryl E. Heffernan
Farver & Heffernan
2858 Old Dixwell Avenue
Hamden, CT 06518
203-230-2500
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ceh@farverandheffernan.com


       Re:     United States v. Eduardo Cruz
               Case No. 3 :24-cr-134 (MPS)

Dear Attorney Heffernan:

       This letter confirms the plea agreement between your client, Eduardo Cruz (the
"defendant"), and the United States Attorney's Office for the District of Connecticut (the
"Government") in this criminal matter.

THE PLEA AND OFFENSE

        In consideration for the benefits offered under this agreement, the defendant agrees to plead
guilty to Counts One and Two of the Indictment. Count One charges Theft of Firearms from a
Licensee, in violation of 18 U.S.C. §§ 922(u), 924(i), 924(1), and 924(m), and Section 2. Count
Two charges Firearms Trafficking-Transfer, in violation of 18 U.S.C. §§ 933(a)(l) and 933(6),
and Section 2.

Count One (Theft of Firearms from a Licensee)

        The defendant understands that, to be guilty of Count One of the Indictment, the following
essential elements must be satisfied:

        1. The defendant stole or unlawfully took or carried away a firearm from the premises of
           a federal firearms licensee;
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        2. The firearm was taken from the licensee's business inventory; and
        3. The firearm, at some time, had traveled in interstate or foreign commerce.

Count Two (Firearms Trafficking - Transfer)

        The defendant understands that, to be guilty of Count Two of the Indictment, the following
essential elements must be satisfied:

        1. The defendant knowingly shipped, transported, transferred, caused to be transported
           or disposed of a firearm to another person;
        2. The shipping, transporting, transferring, causing to be transported or disposition of the
           firearm was in or otherwise affecting interstate commerce; and
        3. The defendant knew or had reasonable cause to believe that the use, carrying or
           possession of the firearm by the other person/recipient would constitute a felony.

THE PENAL TIES

       Imprisonment

       Count One carries a maximum penalty of 10 years of imprisonment.

       Count Two carries a maximum penalty of 15 years of imprisonment.

       Supervised Release

        In addition, with respect to each Count, the Court may impose a term of supervised release
of not more than three years to begin after any term of imprisonment. 18 U.S.C. § 3583.

       The defendant understands that, should he violate any condition of supervised release, he
may be required to serve a further term of imprisonment of up to two years per revocation pursuant
to 18 U.S.C. § 3583 with no credit for time already spent on supervised release.

       Fine

        Under 18 U.S.C. § 3571, with respect to each Count, the maximum fine that may be
imposed on the defendant is the greatest of the following amounts: (1) twice the gross gain to the
defendant resulting from the offense or twice the gross loss resulting from the offense, whichever
is greater; or (2) $250,000.

       Special Assessment

        In addition, the defendant is obligated by 18 U.S.C. § 3013 to pay a special assessment of
$100 on each count of conviction for a total of $200. The defendant agrees to pay the special
assessment on or before the date of sentencing unless he establishes an inability to pay on or before
the date of sentencing through the financial disclosure to the U.S. Probation Office as part of the
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presentence investigation and report, in which case the defendant agrees to pay it as soon as
practicable.

        Restitution

         In addition to the other penalties provided by law, the Court also must order that the
defendant make restitution under 18 U.S.C. § 3663A, and the Government reserves its right to seek
restitution on behalf of victims consistent with the provisions of§ 3663A. The scope and effect of
the order of restitution are set forth in the attached Rider Concerning Restitution. Restitution is
payable immediately unless otherwise ordered by the Court.

       Interest, penalties, and fines

        Unless otherwise ordered, should the Court impose a fine or restitution of more than $2,500
as part of the sentence, interest will be charged on the unpaid balance of the fine or restitution not
paid within 15 days after the judgment date. 18 U.S.C. § 3612(f). Other penalties and fines may
be assessed on the unpaid balance of a fine or restitution pursuant to 18 U.S.C. § 3572(h), (i), and
§ 3612(g). The defendant reserves the right to request that the Court waive interest and penalties
as permitted by statute, and the Government reserves the right to oppose any such request.

       Forfeiture

         Pursuant to 18 U.S.C. §§ 924(d) and 934, and 28 U.S.C. § 2461(c), the defendant agrees to
forfeit to the United States his interest in the property described herein, which are the firearms
charged in Counts One and Two of the Indictment:

   a. Smith & Wesson, Model SW22 Victory, .22 caliber Pistol, SN# UEP4801;
   b. Sig Sauer (Sig-Arms), 9mm Pistol, SN# 55B059453;
   c. AMT - California (Arcadia Machine & Tool), Model Lightning, .22 caliber Pistol, SN#
      G13520;
   d. Sig Sauer (Sig-Arms), 45mm Pistol, SN# 37A014681;
   e. Ruger, Model LCP II, .22 caliber Pistol, SN# 381047329;
   f. Sig Sauer (Sig-Arms), Model P220 Legion, 10mm Pistol, SN# 37F000059;
   g. Sig Sauer (Sig-Arms), Model P226 Legion, 9mm Pistol, SN# 55E063510;
   h. Sig Sauer (Sig-Arms), Model P226 Legion, 9mm Pistol, SN# 47E107744;
   1. Smith & Wesson, Model 41, .22 caliber Pistol, SN# A572362;
   J. Walther, Model PPK/S, .380 caliber Pistol, SN# S028288;
   k. Sig Sauer (Sig-Arms), Model P938, 9mm Pistol, SN# 520012948;
   l. FNH USA, LLC, Model FNP45, 45mm Pistol, SN# 61DMN01473;
   m. Sig Sauer (Sig-Arms), Model P365, 9mm Pistol, SN# 66B730463;
   n. Browning, Model Buck Mark, .22 caliber Pistol, SN# US515YY26456;
   o. Sig Sauer (Sig-Arms), Model P320C, 9mm Pistol, SN# 581487996;
   p. Smith & Wesson, Model M&P 15-22, .22LR Rifle, SN# LBF8582;
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    q. Kriss USA INC. (Transformational Defense Ind.), Model Kriss Vector CRB, 0.22LR Rifle,
       SN# 22VC004866;
    r. Kriss USA INC. (Transformational Defense Ind.), Model Kriss Vector CRB, 0.22LR Rifle,
       SN# 22VC0048145;
    s. Sig Sauer (Sig-Arms), Model P229 Legion, 9mm Pistol, SN# 55E064541;
    t. Smith & Wesson, Model SW22 Victory, .22 caliber Pistol, SN# UEL0343;
    u. Ruger, Model Mark II, .22 caliber Pistol, SN# 213-91266;

and all related magazines and ammunition seized with these firearms.

         The defendant agrees to waive all interests in the firearms and ammunition described above
("the forfeitable assets"), in any administrative or judicial forfeiture proceeding, whether criminal
or civil, state, or federal. The defendant agrees to consent to the entry of orders of forfeiture for
each of the forfeitable assets and waives the requirements of Federal Rules of Criminal Procedure
32.2 and 43(a) regarding notice of the forfeiture in the charging instrument, announcement of the
forfeiture at sentencing, and incorporation of the forfeiture in the judgment. The defendant
acknowledges that he understands that the forfeiture of assets is part of the sentence that may be
imposed in this case and waives any failure by the Court to advise the defendant of this, pursuant
to Federal Rule of Criminal Procedure 11 (b)(1 )(J), at the time the guilty plea is accepted.

        The defendant agrees to hold the United States, its agents, and its employees harmless from
any claims whatsoever in connection with the seizure or forfeiture of the above-listed assets
covered by this agreement. The defendant further agrees to waive all constitutional and statutory
challenges in any manner to any forfeiture carried out in accordance with this plea agreement on
any grounds. The defendant also understands and agrees that by virtue of the plea of guilty, the
defendant waives any rights or cause of action to claim that the defendant is a "substantially
prevailing party" for the purpose of recovery of attorney fees and other litigation costs in any
related forfeiture proceeding pursuant to 28 U.S.C. § 2465(6)(1).

THE SENTENCING GUIDELINES

       Applicability

        The defendant understands that the Court is required to consider any applicable Sentencing
Guidelines as well as other factors enumerated in 18 U.S.C. § 3553(a) to tailor an appropriate
sentence in this case and is not bound by this plea agreement. The defendant agrees that the
Sentencing Guidelines determinations will be made by the Court, by a preponderance of the
evidence, based upon input from the defendant, the Government, and the United States Probation
Office. The defendant further understands that he has no right to withdraw his guilty plea if his
sentence or the Guidelines application is other than he anticipated, including if the sentence is
outside any of the ranges set forth in this agreement.

       Acceptance of Responsibility

       At this time, the Government agrees to recommend that the Court reduce by two levels the
defendant's adjusted offense level under § 3El. l (a) of the Sentencing Guidelines, based on the
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defendant's prompt recognition and affirmative acceptance of personal responsibility for the
offense. Moreover, should the defendant qualify for a decrease under§ 3El.l(a) and his offense
level determined prior to the operation of subsection (a) is level 16 or greater, the Government will
file a motion with the Court pursuant to§ 3El.l(b) which recommends that the Court reduce the
defendant's Adjusted Offense Level by one additional level based on his prompt notification of
his intention to enter a plea of guilty. The defendant understands that the Court is not obligated to
accept the Government's recommendations on the reductions.

        The above-listed recommendations are conditioned upon the defendant's affirmative
demonstration of acceptance of responsibility, by (1) truthfully admitting the conduct comprising
the offenses of conviction and truthfully admitting or not falsely denying any additional relevant
conduct for which the defendant is accountable under § 1 B 1.3 of the Sentencing Guidelines, and
(2) disclosing to the United States Attorney's Office and the United States Probation Office a
complete and truthful financial statement detailing the defendant's financial condition. The
defendant expressly authorizes the United States Attorney's Office to obtain a credit report
concerning the defendant.

         In addition, the Government expressly reserves the right to seek denial of the adjustment
for acceptance of responsibility if the defendant engages in any acts, unknown to the Government
at the time of the signing of this agreement, which (1) indicate that the defendant has not terminated
or withdrawn from criminal conduct or associations (§ 3El.1 of the Sentencing Guidelines);
(2) could provide a basis for an adjustment for obstructing or impeding the administration ofjustice
(§ 3Cl.1 of the Sentencing Guidelines); or (3) constitute a violation of any condition of release.
Moreover, the Government reserves the right to seek denial of the adjustment for acceptance of
responsibility if the defendant seeks to withdraw his guilty plea or takes a position at sentencing,
or otherwise, which, in the Government's assessment, is inconsistent with affirmative acceptance
of personal responsibility. The defendant understands that he may not withdraw his plea of guilty
if, for the reasons explained above, the Government does not make one or both of the
recommendations or seeks denial of the adjustment for acceptance of responsibility.

        Stipulation

         Pursuant to § 6B 1.4 of the Sentencing Guidelines, the defendant and the Government have
entered into the attached stipulation, which is a part of this plea agreement. The defendant
understands that this stipulation does not set forth all of the relevant conduct and characteristics
that may be considered by the Court for purposes of sentencing. The defendant understands that
this stipulation is not binding on the Court. The defendant also understands that the Government
and the United States Probation Office are obligated to advise the Court of any additional relevant
facts that subsequently come to their attention.

        Guidelines Stipulation

       The parties agree as follows:

       The Guidelines Manual in effect on the date of sentencing is used to determine the
applicable Guidelines range.
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        For Count One of the Indictment, the defendant's base offense level under U.S.S.G.
 § 2K2.l(a)(7) is 12. Four levels are added pursuant to U.S.S.G. § 2K2.l(b)(l)(B) because the
offense involved 21 firearms. Four levels are added pursuant to U.S.S.G. § 3Bl.l(a) because the
defendant was an organizer or leader of the crime, which involved five or more participants, Two
levels are added pursuant to U.S.S.G. § 3Bl.4 because the defendant used a person less than
eighteen years of age in committing the offense. Two levels are added pursuant to U.S.S.G.
§ 2K2.l(b)(4)(A) because the firearms were stolen. Finally, five levels are added pursuant to
U.S.S.G. § 2K2.l(b)(5)(C)(i) because the defendant sold three firearms knowing or having reason
to believe that such conduct would result in the receipt of the firearms by an individual who
intended to use or dispose of the firearms unlawfully. Therefore, the total offense level for Count
One is 29.

        For Count Two of the Indictment, the defendant's base offense level under U.S.S.G.
§ 2K2.l(a)(6) is 14 because he is convicted under 18 U.S.C. § 933. Two levels are added pursuant
to U.S.S.G. § 2K2.l(b)(l)(A) because the offense involved three firearms. Four levels are added
pursuant to U.S.S.G. § 3Bl.l(a) because the defendant was an organizer or leader of the crime,
which involved five or more participants. Two levels are added pursuant to U.S.S.G.
§ 2K2.l(b)(4)(A) because the firearms were stolen. Five levels are added pursuant to U.S.S.G.
§ 2K2.1 (b )(5)(C)(i) because the defendant sold three firearms knowing or having reason to believe
that such conduct would result in the receipt of the firearms by an individual who intended to use
or dispose of the firearms unlawfully. Finally, two levels are added pursuant to U.S.S.G. § 3Bl.4
because the defendant used a person less than eighteen years of age in committing the offense. The
total offense level for Count Two is 29.

         Pursuant to U.S.S.G. § 3Dl.2(d), Counts One and Two are grouped together. The offense
level of 29 applies because that is the highest offense level. See U.S.S.G. § 3Dl.3(b). Three levels
are subtracted under U.S.S.G. § 3El.1 for acceptance of responsibility, as noted above, resulting
in a total offense level of 26.

        Based on an initial assessment, the parties agree that the defendant falls within Criminal
History Category I. The parties reserve the right to recalculate the defendant's Criminal History
Category and corresponding sentencing ranges if this initial assessment proves inaccurate. The
government reserves its right to argue that any such re-calculation is not a basis for any downward
departure or variance and its right to oppose any request from the defendant for such a departure
or variance.

         A total offense level of 26, assuming placement in Criminal History Category I, would
result in a Guidelines range of 63 to 78 months of imprisonment (sentencing table) and a fine range
of $25,000 to $250,000 (U.S.S.G. § 5El.2(c)(3)). The defendant also is subject to a supervised
release term of one year to three years. U.S.S.G. § 5Dl.2.

        The Government and the defendant reserve their rights to seek a departure or a non-
Guidelines sentence, and both sides reserve their right to object to a departure or a non-Guidelines
sentence. Moreover, the defendant reserves the right to argue that a fine is not appropriate in this
case, and the Government reserves the right to argue that a fine is appropriate in this case.
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       The defendant understands that the Court is not bound by this agreement on the Guideline
ranges specified above. The defendant further understands that he will not be permitted to
withdraw the guilty plea if the Court imposes a sentence outside any of the ranges set forth in this
agreement.

          In the event the United States Probation Office or the Court contemplates any sentencing
calculations different from those stipulated by the parties, the parties reserve the right to respond
to any inquiries and make appropriate legal arguments regarding the proposed alternate
calculations. Moreover, the parties reserve the right to defend any sentencing determination, even
if it differs from that stipulated by the parties, in any post-sentencing proceeding.

        Information to the Court

          The parties reserve their rights to address the Court with respect to an appropriate sentence
to be imposed in this case. Moreover, the Government will discuss the facts of this case, including
information regarding the defendant's background and character, 18 U.S.C. § 3661, with the
United States Probation Office and will provide the Probation Officer with access to material in
its file, with the exception of grand jury material.

WAIVER OF RIGHTS

       The defendant acknowledges and agrees that he is knowingly, intelligently, and voluntarily
waiving the following rights:

        Waiver of Trial Rights and Consequences of Guilty Plea

       The defendant understands that he has the right to be represented by an attorney at every
stage of the proceeding and, if necessary, one will be appointed to represent him.

        The defendant understands that he has the right to plead not guilty or to persist in that plea
if it has already been made, the right to a public trial, the right to be tried by a jury with the
assistance of counsel, the right to confront and cross-examine the witnesses against him, the right
not to be compelled to incriminate himself, the right to testify and present evidence, and the right
to compel the attendance of witnesses to testify in his defense. The defendant understands that by
pleading guilty he waives those rights and that, if the plea of guilty is accepted by the Court, there
will not be a further trial of any kind.

       The defendant understands that, if he pleads guilty, the Court may ask him questions about
each offense to which he pleads guilty, and if he answers those questions falsely under oath, on
the record, and in the presence of counsel, his answers may later be used against him m a
prosecution for perjury or making false statements.
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        Waiver of Statute of Limitations

        The defendant agrees that, should the conviction following the defendant's guilty plea be
vacated for any reason, then any prosecution that is not time-barred by the applicable statute of
limitations on the date of the signing of this plea agreement (including any indictment or counts
the Government has agreed to dismiss at sentencing pursuant to this plea agreement) may be
commenced or reinstated against the defendant, notwithstanding the expiration of the statute of
limitations between the signing of this plea agreement and the commencement or reinstatement of
such prosecution. The defendant agrees to waive all defenses based on the statute of limitations
with respect to any prosecution that is not time-barred on the date the plea agreement is signed.

        Waiver of Right to Challenge Conviction

         The defendant acknowledges-that under certain circumstances he is entitled to challenge
his conviction. By pleading guilty, the defendant waives his right to appeal or collaterally attack
his conviction in any proceeding, including but not limited to a motion under 28 U.S.C. § 2255
and/or § 2241. In addition to any other claims the defendant might raise, the defendant waives the
right to challenge the conviction based on (1) any non-jurisdictional defects in the proceedings
before entry of this plea, (2) a claim that the statute(s) to which the defendant is pleading guilty is
unconstitutional, and (3) a claim that the admitted conduct does not fall within the scope of the
statute. This waiver does not preclude the defendant from raising a claim of ineffective assistance
of counsel in an appropriate forum.

       Waiver of Right to Appeal or Collaterally Attack Sentence

        The defendant acknowledges that under certain circumstances, the defendant is entitled to
challenge his sentence. In consideration for the benefits offered under this agreement, the
defendant agrees not to appeal or collaterally attack the sentence in any proceeding, including but
not limited to a motion under 28 U.S.C. § 2255 and/or§ 2241, if that sentence does not exceed 78
months of imprisonment, three years of supervised release, a $200 special assessment, and a
$250,000 fine, even if the Court imposes such a sentence based on an analysis different from that
specified above. Similarly, the defendant will not challenge any condition of supervised release
imposed by the Court for which he had notice and an opportunity to object. The Government and
the defendant agree that this waiver applies regardless of whether the term of imprisonment is
imposed to run consecutively to or concurrently with, in whole or in part, the undischarged portion
of any other sentence that has been imposed on the defendant at the time of sentencing in this case.
Furthermore, the parties agree that any challenge to the defendant's sentence that is not foreclosed
by this provision will be limited to that portion of the sentencing calculation that is inconsistent
with (or not addressed by) this waiver. This waiver does not preclude the defendant from raising a
claim of ineffective assistance of counsel in an appropriate forum.

ACKNOWLEDGMENT OF GUILT AND VOLUNTARINESS OF PLEA

         The defendant acknowledges that he is entering into this agreement and is pleading guilty
freely and voluntarily because the defendant is guilty. The defendant further acknowledges that he
is entering into this agreement without reliance upon any discussions between the Government and
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the defendant ( other than those described in the plea agreement letter), without promise of benefit
of any kind ( other than the concessions contained in the plea agreement letter), and without threats,
force, intimidation, or coercion of any kind. The defendant further acknowledges his understanding
of the nature of the offense to which the defendant is pleading guilty, including the penalties
provided by law. The defendant also acknowledges his complete satisfaction with the
representation and advice received from his undersigned attorney. The defendant and his
undersigned counsel are unaware of any conflict of interest concerning counsel's representation of
the defendant in the case.

        The defendant acknowledges that he is not a "prevailing party" within the meaning of
Public Law 105-119, section 617 ("the Hyde Amendment") with respect to the count of conviction
or any other count or charge that may be dismissed pursuant to this agreement. The defendant
voluntarily, knowingly, and intelligently waives any rights the defendant may have to seek
attorney's fees and other litigation expenses under the Hyde Amendment.

SCOPE OF THE AGREEMENT

        The defendant acknowledges that this agreement is limited to the undersigned parties and
cannot bind any other federal authority, or any state or local authority. The defendant
acknowledges that no representations have been made to him with respect to any civil or
administrative consequences that may result from this plea of guilty because such matters are
solely within the province and discretion of the specific administrative or governmental entity
involved. Finally, the defendant acknowledges that this agreement has been reached without regard
to any civil tax matters that may be pending or which may arise involving the defendant.

COLLATERAL CONSEQUENCES

        The defendant understands that he will be adjudicated guilty of each offense to which the
defendant has pleaded guilty and will be deprived of certain rights, such as the right to hold public
office, to serve on a jury, to possess firearms and ammunition, and, in some states, the right to
vote. Further, the defendant understands that if he is not a citizen of the United States, a plea of
guilty may result in removal from the United States, denial ofcitizenship, and denial of admission
to the United States in the future. The defendant understands that pursuant to section 203(b) of the
Justice For All Act, the Federal Bureau of Prisons or the United States Probation Office will collect
a DNA sample from the defendant for analysis and indexing. Finally, the defendant understands
that the Government reserves the right to notify any state or federal agency by which the defendant
is licensed, or with which the defendant does business, as well as any current or future employer
of the fact of his conviction.

SATISFACTION OF FEDERAL CRIMINAL LIABILITY; BREACH

         The defendant's guilty plea, if accepted by the Court, will satisfy the federal criminal
liability of the defendant in the District of Connecticut as a result of the defendant's participation
in the theft of firearms from a licensee and firearms trafficking, which form the basis of the
Indictment in this case. After sentencing, the Government will move to dismiss Count Three of
the Indictment because the conduct underlying the dismissed count will have been taken into
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account in determining the appropriate sentence. This provision does not apply to any conduct
unknown to the Government at the time of the signing of this agreement.

        The defendant understands that if, before sentencing, he violates any term or condition of
this agreement, engages in any criminal activity, or fails to appear for sentencing, the Government
may void all or part of this agreement. If the agreement is voided in whole or in part, the defendant
will not be permitted to withdraw the guilty plea.
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NO OTHER PROMISES

         The defendant acknowledges that no other promises, agreements, or conditions have been
entered into other than those set forth in this plea agreement, and none will be entered into unless
set forth in writing, signed by all the parties.

       This letter shall be presented to the Court, in open court, and filed in this case.

                                              Very truly yours,

                                              MARCH. SILVERMAN
                                              ACTING UNITED STATES ATTORNEY




                                              SEAN P. MAHARD
                                              ASSISTANT UNITED STA TES ATTORNEY


       The defendant certifies that he has read this plea agreement letter and its attachments or
has had it read or translated to him, that he has had ample time to discuss this agreement and its
attachments with counsel and that he fully understands and accepts its terms.



EDARDOCRUZ                                            Date
The Defendant

       I have thoroughly read, reviewed, and explained this plea agreement and its attachments to
my client who advises me that he understands and accepts its terms.



CHE~
Attorney for the Defendant
                                                      D'}/7/z<
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        STIPULATION OF OFFENSE CONDUCT AND RELEVANT CONDUCT

       The defendant and the Government stipulate to the following offense conduct and relevant
conduct that give rise to the defendant's agreement to plead guilty to the Indictment:

                           Count One (Theft of Firearms from a Licensee)

1. On or about March 15, 2024, the defendant stole, or unlawfully took, or carried away, or aided
    and abetted in the stealing, unlawfully taking, or carrying away, the following firearms from
   the premises of Statewide Pawn Shop, LLC, a federal firearms licensee, located in Salem,
    Connecticut:
   a. Smith & Wesson, Model SW22 Victory, .22 caliber Pistol, SN# UEP4801;
   b. Sig Sauer (Sig-Arms), 9mm Pistol, SN# 55B059453;
   c. AMT - California (Arcadia Machine & Tool), Model Lightning, .22 caliber Pistol, SN#
       G13520;
   d. Sig Sauer (Sig-Arms), 45mm Pistol, SN# 37A014681;
   e. Ruger, Model LCP II, .22 caliber Pistol, SN# 381047329;
   f. Sig Sauer (Sig-Arms), Model P220 Legion, 10mm Pistol, SN# 37F000059;
   g. Sig Sauer (Sig-Arms), Model P226 Legion, 9mm Pistol, SN# 55E063510;
   h. Sig Sauer (Sig-Arms), Model P226 Legion, 9mm Pistol, SN# 47E107744;
   1.  Smith & Wesson, Model 41, .22 caliber Pistol, SN# A572362;
   J. Walther, Model PPK/S, .380 caliber Pistol, SN# S028288;
   k. Sig Sauer (Sig-Arms), Model P938, 9mm Pistol, SN# 52G012948;
   I. FNH USA, LLC, Model FNP45, 45mm Pistol, SN# 61DMN01473;
   m. Sig Sauer (Sig-Arms), Model P365, 9mm Pistol, SN# 66B730463;
   n. Browning, Model Buck Mark, .22 caliber Pistol, SN# US515YY26456;
   o. Sig Sauer (Sig-Arms), Model P320C, 9mm Pistol, SN# 581487996;
   p. Smith & Wesson, Model M&P 15-22, .22LR Rifle, SN# LBF8582;
   q. Kriss USA INC. (Transformational Defense Ind.), Model Kriss Vector CRB, 0.22LR Rifle,
       SN# 22VC004866;
   r. Kriss USA INC. (Transformational Defense Ind.), Model Kriss Vector CRB, 0.22LR Rifle,
       SN# 22VC0048145;
   s. Sig Sauer (Sig-Arms), Model P229 Legion, 9mm Pistol, SN# 55E064541;
   t. Smith & Wesson, Model SW22 Victory, .22 caliber Pistol, SN# UEL0343; and
   u. Ruger, Model Mark II, .22 caliber Pistol, SN# 213-91266.
2. The firearms were stolen from Statewide Pawn Shop, LLC, in Salem, Connecticut, which is a
   federal firearms licensee with License Number #-##-02801. The firearms were a part of
   Statewide Pawn Shop's business inventory.
3. Each firearm had been shipped or transported in interstate or foreign commerce prior to their
   theft.

                           Count Two (Firearms Trafficking - Transfer)

1. On March 15, 2024, the defendant knowingly transferred the following three firearms stolen
   from Statewide Pawn Shop to another person in Waterbury, Connecticut:
   a. Smith & Wesson, Model SW22 Victory, .22 caliber Pistol, SN# UEL0343;
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    b. FNH USA, LLC, Model FNP45, 45mm Pistol, SN# 61DMN01473; and
    c. Kriss USA INC. (Transformational Defense Ind.), Model Kriss Vector CRB, 0.22LR
       Rifle, SN# 22VC0048145.




2. The transfer of the three firearms was in or otherwise affecting interstate commerce; and
3. The defendant knew or had reasonable cause to believe that the use, carrying or possession of
   the firearms by the recipient would constitute a felony because the firearms were stolen and
   the recipient advised that he was going to unlawfully transfer the firearms to others.

       This written stipulation is part of the plea agreement. The defendant and the Government
reserve their right to present additional offense conduct and relevant conduct to the Court in
connection with sentencing.



EDUARDO CRUZ                                SEAN P. MAHARD
The Defendant                               ASSISTANT UNITED STATES ATTORNEY




                         N,ESQ.
Attorney for the Defendant
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                             RIDER CONCERNING RESTITUTION

       The Court shall order that the defendant make restitution under 18 U.S.C. § 3663A as
follows:

1. If the offense resulted in damage to or loss or destruction of property of a victim of the offense:

  A.     Return the property to the owner of the property or someone designated by the owner; or

  B.     If return of the property is impossible, impracticable, or inadequate, pay an amount equal
         to:

         The greater of -
         (I) the value of the property on the date of the damage, loss, or destruction; or

         (II) the value of the property on the date of sentencing, less the value as of the date the
              property is returned.

2. In the case of an offense resulting in bodily injury to a victim -

   A. Pay an amount equal to the costs of necessary medical and related professional services
      and devices related to physical, psychiatric, and psychological care; including non-medical
      care and treatment rendered in accordance with a method of healing recognized by the law
      of the place of treatment;

   B. Pay an amount equal to the cost of necessary physical and occupational therapy and
      rehabilitation; and

    C. Reimburse the victim for income lost by such victim as a result of such offense.

3. In the case of an offense resulting in bodily injury that results in the death of the victim, pay
   an amount equal to the cost of necessary funeral and related services.

4. In any case, reimburse the victim for lost income and necessary child care, transportation, and
   other expenses incurred during participation in the investigation or prosecution of the offense
   or attendance at proceedings related to the offense.

        The order of restitution has the effect of a civil judgment against the defendant. In addition
to the Court-ordered restitution, the Court may order that the conditions of its order of restitution
be made a condition of probation or supervised release. Failure to make restitution as ordered may
result in a revocation of probation, 18 U.S.C. § 3565, or a modification of the conditions of
supervised release, 18 U.S.C. § 3583(e). Failure to pay restitution also may result in the defendant
being held in contempt, or the defendant's re-sentencing to any sentence which might originally
have been imposed by the Court. See 18 U.S.C. §§ 3613A, 3614. Moreover, in the event of default,
notwithstanding any installment schedule for the payment of restitution, the Court may order
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payment of the entire amount of restitution due within 30 days after notification of the default,
subject to the provisions of 18 U.S.C. §§ 3572(i) and 3613A.
